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Attorneys for Plaintiff, Digital Verification Systems, LLC

                       IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF UTAH

DIGITAL VERIFICATION SYSTEMS,         §
LLC,                                  §
                                      §
      Plaintiff,                      §                      Case No: 2:21-cv-00522-HCN
                                      §
vs.                                   §                      PATENT CASE
                                      §
EFILECABINET, INC.,                   §
                                      §
      Defendant.                      §
_____________________________________ §

                                        COMPLAINT

       Plaintiff Digital Verification Systems, LLC (“Plaintiff” or “DVS”) files this Complaint

against eFileCabinet, Inc. (“Defendant” or “eFileCabinet”) for infringement of United States

Patent No. 9,054,860 (hereinafter “the ‘860 Patent”).




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                                PARTIES AND JURISDICTION

        1.       This is an action for patent infringement under Title 35 of the United States Code.

Plaintiff is seeking injunctive relief as well as damages.

        2.       Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal

Question) and 1338(a) (Patents) because this is a civil action for patent infringement arising

under the United States patent statutes.

        3.       Plaintiff is a Texas limited liability company with an address of 1 East Broward

Boulevard, Suite 700, Fort Lauderdale, FL 33301.

        4.       On information and belief, Defendant is a Utah corporation with its principal

office located at 4101 N. Thanksgiving Way, Lehi, UT 84043. On information and belief,

Defendant may be served through its registered agent, Registered Agents, Inc., 881 Baxter Drive,

Ste 100, South Jordan, UT 84095.

        5.       On information and belief, this Court has personal jurisdiction over Defendant

because Defendant has committed, and continues to commit, acts of infringement in this District,

has conducted business in this District, and/or has engaged in continuous and systematic

activities in this District.

        6.       On information and belief, Defendant’s instrumentalities that are alleged herein

to infringe were and continue to be used, imported, offered for sale, and/or sold in this District.

                                              VENUE

        7.       On information and belief, venue is proper in this District under 28 U.S.C. §

1400(b) because Defendant is a resident of this District. Alternatively, acts of infringement are

occurring in this District and Defendant has a regular and established place of business in this

District.




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                                  COUNT I
             (INFRINGEMENT OF UNITED STATES PATENT NO. 9,054,860)

       8.      Plaintiff incorporates paragraphs 1 through 7 herein by reference.

       9.      This cause of action arises under the patent laws of the United States and, in

particular, under 35 U.S.C. §§ 271, et seq.

       10.     Plaintiff is the owner by assignment of the ‘860 Patent with sole rights to enforce

the ‘860 Patent and sue infringers.

       11.     A copy of the ‘860 Patent, titled “Digital Verified Identification System and

Method,” is attached hereto as Exhibit A.

       12.     The ‘860 Patent is valid, enforceable, and was duly issued in full compliance with

Title 35 of the United States Code.

       13.     Upon information and belief, Defendant has infringed and continues to infringe

one or more claims, including at least Claim 1, of the ‘860 Patent by making, using (at least by

having its employees, or someone under Defendant's control, test the accused Product),

importing, selling, and/or offering for sale associated hardware and/or software for digital

signature services (e.g., eFileCabinet eSignature service), and any similar products and/or

services (“Product”) covered by at least Claim 1 of the ‘860 Patent. Defendant has infringed and

continues to infringe the ‘860 patent either directly or through acts of contributory infringement

or inducement in violation of 35 U.S.C. § 271.

       14.     The Product provides a system for e-signatures. The Product provides for

digitally verifying the identification of a sender. Certain aspects of this element are illustrated

in the screenshot(s) below and/or in those provided in connection with other allegations herein.




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       15.     The Product includes at least one digital identification module structured to be

associated with at least one entity. For example, the Product provides a module (e.g., e-signature

creation module) to be associated with at least one entity (i.e., a user who needs to use a digital

signature). Certain aspects of this element are illustrated in the screenshot(s) below and/or in




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those provided in connection with other allegations herein.




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       16.     The Product includes a module generating assembly structured to receive at least

one verification data element corresponding to the at least one (e.g., a user has a unique login ID

and password for accessing and verifying the account for e-signing documents) and create said

at least one digital identification module (e.g., creating an e-signature of a user). Certain aspects

of this element are illustrated in the screenshot(s) below and/or in those provided in connection

with other allegations herein.




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       17.     The at least one digital identification module is disposable within at least one

electronic file. For example, the user can store the e-signature within a document or including

PDF, WORD DOC, IMAGES, etc. Certain aspects of this element are illustrated in the

screenshot(s) below and/or in those provided in connection with other allegations herein.




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      18.   The at least one digital identification module includes at least one primary



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component structured (e.g., an e-signature of a user is associated with information including

username, etc.) to at least partially associate the digital identification module with the at least

one entity (e.g., an e-signature is associated with a user, who has to sign digitally). Certain

aspects of this element are illustrated in the screenshot(s) below and/or in those provided in

connection with other allegations herein.




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       19.     The at least one digital identification module is cooperatively structured to be

embedded within only a single electronic file (e.g., an e-signature is stored within a document-

including PDF, WORD DOC, IMAGES, etc.). Certain aspects of this element are illustrated in

the screenshot(s) below and/or in those provided in connection with other allegations herein.




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          20.   Defendant’s actions complained of herein will continue unless Defendant is

enjoined by this court.

          21.   Defendant’s actions complained of herein are causing irreparable harm and

monetary damage to Plaintiff and will continue to do so unless and until Defendant is enjoined

and restrained by this Court.

          22.   Plaintiff is in compliance with 35 U.S.C. § 287.

                                   PRAYER FOR RELIEF

          WHEREFORE, Plaintiff asks the Court to:

          (a)   Enter judgment for Plaintiff on this Complaint on all causes of action asserted

herein;

          (b)   Enter an Order enjoining Defendant, its agents, officers, servants, employees,

attorneys, and all persons in active concert or participation with Defendant who receive notice

of the order from further infringement of United States Patent No. 9,054,860 (or, in the



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alternative, awarding Plaintiff a running royalty from the time of judgment going forward);

       (c)       Award Plaintiff damages resulting from Defendant’s infringement in accordance

with 35 U.S.C. § 284;

       (d)       Award Plaintiff pre-judgment and post-judgment interest and costs; and

       (e)       Award Plaintiff such further relief to which the Court finds Plaintiff entitled under

law or equity.



 Dated: September 3, 2021.                          Respectfully submitted,

                                                    /s/ Geoffrey E. Dobbin
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